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      UNITED STATES DISTRICT COURT
      EASTERN DISTRICT OF NEW YORK
     ------------------------------------ x
     NIHAL ERKAN, on behalf of herself and all others :           Case no. 1:24-cv-3170
     similarly situated,                              :
                                                      :
                          Plaintiffs,                 :
                                                      :           CLASS ACTION COMPLAINT
                          v.                          :                     AND
                                                      :            DEMAND FOR JURY TRIAL
     Long Island City Kleaners, LLC,                  :
                                                      :
                          Defendant.                  :
                                                      :
                                                      :
     ------------------------------------ x


                                             INTRODUCTION

1.   Plaintiff, NIHAL ERKAN (“Plaintiff” or “ERKAN”), brings this action on behalf of herself and

     all other persons similarly situated against Long Island City Kleaners, LLC (hereinafter “Long

     Island City Kleaners” or “Defendant”), and states as follows:

2.   Plaintiff is a visually-impaired and legally blind person who requires screen-reading software to

     read website content using her computer. Plaintiff uses the terms “blind” or “visually-impaired”

     to refer to all people with visual impairments who meet the legal definition of blindness in that

     they have a visual acuity with correction of less than or equal to 20 x 200. Some blind people who

     meet this definition have limited vision; others have no vision.

3.   Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people in the United

     States are visually impaired, including 2.0 million who are blind, and according to the American

     Foundation for the Blind’s 2015 report, approximately 400,000 visually impaired persons live in

     the State of New York.




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4.   Plaintiff brings this civil rights action against Long Island City Kleaners for their failure to

     design, construct, maintain, and operate their website to be fully accessible to and independently

     usable by Plaintiff and other blind or visually-impaired persons. Defendant is denying blind and

     visually impaired persons throughout the United States with equal access to services Long Island

     City Kleaners provides to their non-disabled customers through https://www.licknyc.com

     (hereinafter “Licknyc.com” or “the website”). Defendant’s denial of full and equal access to its

     website, and therefore denial of its services offered, and in conjunction with its physical locations,

     is a violation of Plaintiff’s rights under the Americans with Disabilities Act (the “ADA”).

5.   Licknyc.com provides to the public a wide array of services, price specials and other programs

     offered by Long Island City Kleaners. Long Island City Kleaners specializes in products such as

     T-shirts, hoodies, sweatshirts, pants, sneakers, slip-ons, hats. Yet, Licknyc.com contains

     significant access barriers that make it difficult if not impossible for blind and visually-impaired

     customers to use the website. In fact, the access barriers make it impossible for blind and visually-

     impaired users to enjoy and learn about the services at Licknyc.com prior to entering Defendant’s

     physical location. Thus, Long Island City Kleaners excludes the blind and visually-impaired from

     the full and equal participation in the growing Internet economy that is increasingly a

     fundamental part of the common marketplace and daily living. In the wave of technological

     advances in recent years, assistive computer technology is becoming an increasingly prominent

     part of everyday life, allowing blind and visually-impaired persons to fully and independently

     access a variety of services.

6.   The blind have an even greater need than the sighted to have access to various websites in order to

     compare merchandise, benefits and prices, to get more information about the companies, their




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     locations and hours of operation. The lack of an accessible website deters blind people from

     visiting Defendant’s physical location and enjoying services that it provides to the public.


7.   Despite readily available accessible technology, such as the technology in use at other heavily

     trafficked websites, which makes use of alternative text, accessible forms, descriptive links,

     resizable text and limits the usage of tables and JavaScript, Defendant has chosen to rely on an

     exclusively visual interface. Long Island City Kleaners’ sighted customers can independently

     browse and learn more information about the company and its products without the assistance of

     others. However, blind persons must rely on sighted companions to assist them in accessing

     Licknyc.com.

8.   By failing to make the website accessible to blind persons, Defendant is violating basic equal

     access requirements under both state and federal law.

9.   Congress provided a clear and national mandate for the elimination of discrimination against

     individuals with disabilities when it enacted the ADA. Such discrimination includes barriers to

     full integration, independent living, and equal opportunity for persons with disabilities, including

     those barriers created by websites and other public accommodations that are inaccessible to blind

     and visually impaired persons. Similarly, New York state law requires places of public

     accommodation to ensure access to goods, services, and facilities by making reasonable

     accommodations for persons with disabilities.

10. Plaintiff browsed and intended to analyze and use services provided by Defendant on

     Licknyc.com. While looking for a nearby clothing store providing streetwear and urban-style

     apparel, Plaintiff discovered Defendant's website. While exploring the website to learn more

     about their products and physical location, she faced several accessibility issues. These issues

     made it impossible for her to purchase a T-shirt, locate the store's address, or find a phone number




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    to contact them. However, unless Defendant remedies the numerous access barriers on its website,

    Plaintiff and Class members will continue to be unable to independently navigate, browse and use

    Licknyc.com.

11. Because Defendant’s website, Licknyc.com, is not equally accessible to blind and visually-

    impaired consumers, it violates the ADA. Plaintiff seeks a permanent injunction to cause a change

    in Long Island City Kleaners’ policies, practices, and procedures to that Defendant’s website will

    become and remain accessible to blind and visually-impaired consumers. This complaint also

    seeks compensatory damages to compensate Class members for having been subjected to

    unlawful discrimination.


                                     JURISDICTION AND VENUE


12. This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331 and 42 U.S.C.

    § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42 U.S.C. § 12181, et seq., and 28

    U.S.C. § 1332. This Court also has supplemental jurisdiction over pursuant to 28 U.S.C. § 1367,

    over Plaintiff’s pendent claims under the New York State Human Rights Law, N.Y. Exec. Law,

    Article 15 (Executive Law § 290 et seq.) and the New York City Human Rights Law, N.Y.C.

    Administrative Code § 8-101 et seq. (“City Law”).

13. Venue is proper in this District of New York pursuant to 28 U.S.C. §§ 1391(b)(c) and 144(a)

    because Defendant conducts and continues to conduct a substantial and significant amount of

    business in this District, and a substantial portion of the conduct complained of herein occurred in

    this District because Plaintiff attempted to utilize, on a number of occasions, the subject Website

    within this Judicial District.

14. Defendant is registered to do business in New York State and has been conducting business in

    New York State, including in this District. Defendant purposefully targets and otherwise solicits



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    business from New York State residents through its website. Because of this targeting, it is not

    unusual for Long Island City Kleaners to conduct business with New York State residents.

    Defendant also has been and is committing the acts alleged herein in this District and has been

    and is violating the rights of consumers in this District and has been and is causing injury to

    consumers in this District. A substantial part of the act and omissions giving rise to Plaintiff’s

    claims have occurred in this District. Most courts support the placement of venue in the district in

    which Plaintiff tried and failed to access the Website. In Access Now, Inc. v. Otter Products, LLC

    280 F.Supp.3d 287 (D. Mass. 2017), Judge Patti B. Saris ruled that “although the website may

    have been created and operated outside of the district, the attempts to access the website in

    Massachusetts are part of the sequence of events underlying the claim. Therefore, venue is proper

    in [the District of Massachusetts].” Otter Prods., 280 F.Supp.3d at 294. This satisfies Due Process

    because the harm – the barred access to the website – occurred here.” Otter Prods., 280 F.Supp.3d

    at 293.


    Additionally, in Access Now, Inc. v. Sportswear, Inc., No. 17-cv-11211-NMG, 2018 Dist. LEXIS

    47318 (D. Mass. Mar. 22, 2018), Judge Nathaniel M. Gorton stated that the defendant “availed

    itself of the forum state’s economic activities by targeting the residents of the Commonwealth . . .

    Such targeting evinces a voluntary attempt to appeal to the customer base in the forum.”

    Sportswear, No. 1:17-cv-11211-NMG, 2018 U.S. Dist. LEXIS 47318 at *11. Thus, establishing a

    customer base in a particular district is sufficient cause for venue placement.


                                                 PARTIES


15. Plaintiff, is and has been at all relevant times a resident of Queens County, State of New York.




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16. Plaintiff is legally blind and a member of a protected class under the ADA, 42 U.S.C. § 12102(l)-

    (2), the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the New York

    State Human Rights Law and the New York City Human Rights Law. Plaintiff, NIHAL ERKAN,

    cannot use a computer without the assistance of screen reader software. Plaintiff has been denied

    the full enjoyment of the facilities and services of Licknyc.com as a result of accessibility barriers

    on Licknyc.com.

17. Defendant, Long Island City Kleaners, LLC, is a New York Limited Liability Company doing

    business in this State with its principal place of business located at 30-53 Steinway Street, Long

    Island City, NY 11103. Plaintiff intended to visit Defendant’s physical location at the same

    address.

18. Long Island City Kleaners provides to the public a website known as Licknyc.com which

    provides consumers with access to an array of apparel, footwear, and accessories which

    Defendant offers in connection with their physical location. Consumers across the United States

    use Defendant’s website to find the information about the store location and hours of operation, as

    well as information about the goods and services in its physical location. Defendant’s website is a

    place of public accommodation within the definition of Title III of the ADA, 42 U.S.C.

    § 12181(7). See Victor Andrews v. Blick Art Materials, LLC, No. 17-cv-767, 2017 WL 3278898

    (E.D.N.Y. August 1, 2017). Plaintiff has been denied the full enjoyment of the facilities, goods

    and services of Licknyc.com, as well as deprived of the opportunity to enjoy the facilities, goods

    and services of Defendant’s brick and mortar location, as a result of accessibility barriers on

    Licknyc.com.




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                                        NATURE OF THE CASE


19. The Internet has become a significant source of information, a portal, and a tool for conducting

    business, doing everyday activities such as shopping, learning, banking, researching, as well as

    many other activities for sighted, blind and visually-impaired persons alike.

20. The blind access websites by using keyboards in conjunction with screen-reading software which

    vocalizes visual information on a computer screen. Except for a blind person whose residual

    vision is still sufficient to use magnification, screen access software provides the only method by

    which a blind person can independently access the Internet. Unless websites are designed to allow

    for use in this manner, blind persons are unable to fully access Internet websites and the

    information, products and services contained therein.

21. For screen-reading software to function, the information on a website must be capable of being

    rendered into text. If the website content is not capable of being rendered into text, the blind user

    is unable to access the same content available to sighted users.

22. Blind users of Apple macOS operating system-enabled computers and devices have a built in

    screen-reading software program available to them. "Voice Over” is one of the most popular

    screen-reading software program available for blind computer users.

23. The international website standards organization, the World Wide Web Consortium, known

    throughout the world as W3C, has published version 2.1 of the Web Content Accessibility

    Guidelines (“WCAG 2.1”). WCAG 2.1 are well-established guidelines for making websites

    accessible to blind and visually-impaired persons. These guidelines are universally followed by

    most large business entities and government agencies to ensure their websites are accessible.

    Many Courts have also established WCAG 2.1 as the standard guideline for accessibility. The

    federal government has also promulgated website accessibility standards under Section 508 of the



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    Rehabilitation Act. These guidelines are readily available via the Internet, so that a business

    designing a website can easily access them. These guidelines recommend several basic

    components for making websites accessible, including but not limited to: adding invisible alt-text

    to graphics, ensuring that all functions can be performed using a keyboard and not just a mouse,

    ensuring that image maps are accessible, and adding headings so that blind persons can easily

    navigate the site. Without these very basic components, a website will be inaccessible to a blind

    person using a screen reader. Websites need to be accessible to the “least sophisticated” user of

    screen-reading software and need to be able to work with all browsers. Websites need to be

    continually updated and maintained to ensure that they remain fully accessible.


                                      FACTUAL ALLEGATIONS


24. Defendant controls and operates Licknyc.com in New York State and throughout the United

    States.

25. Licknyc.com is a commercial website and online platform that provides apparel, footwear, and

    accessories offered by Defendant in connection with its physical locations.

26. Among the features offered by Licknyc.com are the following:


          a) Customers may find information about store location and hours of operation, as well as

              information about the services in its physical location, purchase gift cards and find

              information about available offers and programs;

          b) Consumers may use the website to connect with Long Island City Kleaners, LLC on

              various social media platforms, including Facebook, Twitter, Instagram, and YouTube.

27. This case arises out of Long Island City Kleaners’ policy and practice of denying the blind access

    to the services offered by Licknyc.com. Due to Long Island City Kleaners’ failure and refusal to




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    remove access barriers to Licknyc.com, blind individuals have been and are being denied equal

    access to Long Island City Kleaners, as well as to the numerous goods, services and benefits

    offered to the public through Licknyc.com.

28. Long Island City Kleaners denies the blind access to goods, services and information made

    available through Licknyc.com by preventing them from freely navigating Licknyc.com.

29. Licknyc.com contains access barriers that prevent free and full use by Plaintiff and blind persons

    using keyboards and screen-reading software. These barriers are pervasive and include, but are

    not limited to: inaccurate heading hierarchy, inadequate focus order, ambiguous link texts,

    inaccessible contact information, changing of content without advance warning, inaccurate alt-

    text on graphics, inaccessible drop-down menus, the lack of navigation links, the lack of adequate

    labeling of form fields, the denial of keyboard access for some interactive elements, redundant

    links where adjacent links go to the same URL address, and the requirement that transactions be

    performed solely with a mouse.

30. Alternative text (“Alt-text”) is invisible code embedded beneath a graphical image on a website.

    Web accessibility requires that alt-text be coded with each picture so that a screen-reader can

    speak the alternative text while sighted users see the picture. Alt-text does not change the visual

    presentation except that it appears as a text pop-up when the mouse moves over the picture. There

    are many important pictures on Licknyc.com that lack a text equivalent. The lack of alt-text on

    these graphics prevents screen readers from accurately vocalizing a description of the graphics

    (screen-readers detect and vocalize alt-text to provide a description of the image to a blind

    computer user). As a result, Plaintiff and blind Licknyc.com customers are unable to determine

    what is on the website.




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31. Licknyc.com also lacks prompting information and accommodations necessary to allow blind

    customers who use screen-readers to locate and accurately fill-out online forms. Due to lack of

    adequate labeling, Plaintiff and blind customers cannot find information about the store, its

    services and location, offered by Defendant in connection with its physical locations.

32. When visiting the Website, Plaintiff, using Voice Over, encountered the following specific

    accessibility issues:


              a) “Skip to content” link was not implemented. Plaintiff was not provided with the

                  mechanism to bypass repeated blocks of content;

              b) Heading hierarchy was not properly defined, and there were missing heading levels.

                  As a result, quick navigation through headings on the website did not help Plaintiff

                  effectively find the content and understand the logical structure of the home page;

              c) The heading failed to describe the section of content it was attributed to. Descriptive

                  and meaningful headings, even when read out of context, help assistive technology

                  users help understand the relationships between different parts of the content;

              d) The interactive element with "button" functioning was programmatically built using

                  inappropriate tags and did not have the correct "role". Plaintiff received inaccurate

                  information about the purpose of the element in focus;

              e) Sub-menu elements with drop-down menus were inaccessible via keyboard. Plaintiff

                  could not interact with sub-menus using "tab" or "arrow" keys. The website had

                  device-specific functionality, like mouse-dependency, making it inaccessible to

                  legally blind users;

              f) The Navigation sub-menus with drop-down lists did not announce their state -

                  “collapsed” or “expanded”. Plaintiff could not determine in which part of the sub-




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          menu the keyboard focus was located or if the links were skipped;

       g) Logo was used as link without appropriate alternative text. Plaintiff was not

          informed about the purpose of the graphic logo;

       h) Links led to other websites and did not indicate that they were external. Plaintiff was

          disoriented on another website. The link text failed to warn legally blind customers

          about the significant change of the context;

       i) Plaintiff tried to follow the links from the website and received no prior warning that

          the links opened new windows. As a result, Plaintiff unsuccessfully tried to use the

          “Back” function of the browser to go to the previous page and became disoriented;

       j) Interactive elements from the website could not be focused with the Tab key. The

          website did not provide helpful instructions on how to access the interactive element

          using arrow keys. Plaintiff did not know about the interactive element from the page;

       k) Plaintiff encountered interactive images that were used as links that did not describe

          the content of the link target. There were no details what kind of information can be

          found on the destination page;

       l) Plaintiff was forced to repeatedly tab through elements with the same destination:

          the link text of products conveyed similar information and led to the same

          destinations as interactive images above the links;

       m) Different images of the same product had similar and poorly descriptive alternative

          text. Plaintiff could not learn more detailed information about the product and its

          features;

       n) Unclear and ambiguous labels for form fields impeded Plaintiff from correct

          information input. Plaintiff was unaware of the purpose of the interactive element




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                 and could not understand what information was required;

             o) When opening a dialog, focus order did not move from trigger button to dialog

                 items. Plaintiff was confused while navigation, encountering information in an

                 inconsistent order with the meaning of the content that could not be operated from

                 the keyboard;

             p) Plaintiff was unable to determine if the form fields were mandatory (“Required”).

                 The lack of detailed instructions while filling in the form, prevented Plaintiff from

                 successfully submission of personal information;

             q) The phone number on the website was presented in plain text, and therefore was

                 non-interactive and inaccessible to the screen reader. As a result, Plaintiff was

                 unable to contact customer support to clarify details about products or purchase

                 procedure.


    Consequently, blind customers are essentially prevented from the ability to enjoy and use

    Defendant’s Licknyc.com.


33. Licknyc.com requires the use of a mouse to complete a transaction. Yet, it is a fundamental tenet

    of web accessibility that for a web page to be accessible to Plaintiff and blind people, it must be

    possible for the user to interact with the page using only the keyboard. Indeed, Plaintiff and blind

    users cannot use a mouse because manipulating the mouse is a visual activity of moving the

    mouse pointer from one visual spot on the page to another. Thus, Licknyc.com’s inaccessible

    design, which requires the use of a mouse, denies Plaintiff and blind customers the ability to

    independently navigate Licknyc.com.

34. Due to Licknyc.com’s inaccessibility, Plaintiff and blind customers cannot find information about

    the location of store, provided services and some additional information about the services and



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    goods located in store. By contrast, if Licknyc.com was accessible, a blind person could

    independently investigate services, compare features, discounts, promotions and prices via the

    Internet as sighted individuals can and do. According to WCAG 2.1 Guideline 2.4.1, a mechanism

    is necessary to bypass blocks of content that are repeated on multiple webpages because requiring

    users to extensively tab before reaching the main content is an unacceptable barrier to accessing

    the website. Plaintiff must tab through every navigation bar element on Defendant’s website in an

    attempt to reach the desired service. Thus, Long Island City Kleaners has inaccessible design that

    deprives the Plaintiff and blind customers of the opportunity to use and enjoy Licknyc.com on

    their own.

35. Licknyc.com thus contains access barriers which deny the full and equal access to Plaintiff, who

    would otherwise use Licknyc.com and who would otherwise be able to fully and equally enjoy

    the benefits and services of Licknyc.com in New York State and throughout the United States.

36. Plaintiff, NIHAL ERKAN, has made an attempt to visit and use Licknyc.com. She tried to learn

    more information about the goods and services offered by the company on April 13, 2024, but she

    was unable to do so independently because of the many access barriers on Defendant’s website.

    These access barriers have caused Licknyc.com to be inaccessible to, and not independently

    usable by blind and visually-impaired persons. Amongst other access barriers experienced,

    Plaintiff was unable to learn more information about store location and hours of operation,

    compare prices and benefits and learn more information about the goods and services in its

    physical location.

37. Moreover, Plaintiff will visit the website again immediately upon Defendant correcting the

    numerous accessibility barriers on it. Plaintiff enjoys the website's vast selection of products from




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    popular brands, along with its regular promotions and new releases, and would like to visit one of

    the Defendant’s physical store location.

38. As described above, Plaintiff has actual knowledge of the fact that Defendant’s website,

    Licknyc.com, contains access barriers causing the website to be inaccessible, and not

    independently usable by, blind and visually-impaired persons.

39. These barriers to access have denied Plaintiff full and equal access to, and enjoyment of, the

    benefits and services of Licknyc.com.

40. Defendant engaged in acts of intentional discrimination, including but not limited to the following

    policies or practices:


             a) constructed and maintained a website that is inaccessible to blind class members with

                knowledge of the discrimination; and/or

             b) constructed and maintained a website that is sufficiently intuitive and/or obvious that

                is inaccessible to blind class members; and/or

             c) failed to take actions to correct these access barriers in the face of substantial harm

                and discrimination to blind class members.


41. Defendant utilizes standards, criteria or methods of administration that have the effect of

    discriminating or perpetuating the discrimination of others.

42. Because of Defendant’s denial of full and equal access to, and enjoyment of, the goods, benefits

    and services of Licknyc.com, Plaintiff and the class have suffered an injury-in-fact which is

    concrete and particularized and actual and is a direct result of Defendant’s conduct.




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                                    CLASS ACTION ALLEGATIONS


43. Plaintiff, on behalf of herself and all others similarly situated, seeks certification of the following

    nationwide class pursuant to Rule 23(a) and 23(b)(2) of the Federal Rules of Civil Procedure: “all

    legally blind individuals in the United States who have attempted to access Licknyc.com and as a

    result have been denied access to the enjoyment of goods and services offered by Licknyc.com,

    during the relevant statutory period.”

44. Plaintiff seeks certification of the following New York subclass pursuant to Fed.R.Civ.P. 23(a),

    23(b)(2), and, alternatively, 23(b)(3): “all legally blind individuals in New York State who have

    attempted to access Licknyc.com and as a result have been denied access to the enjoyment of

    goods and services offered by Licknyc.com, during the relevant statutory period.”

45. There are hundreds of thousands of visually-impaired persons in New York State. There are

    approximately 8.1 million people in the United States who are visually-impaired. Id. Thus, the

    persons in the class are so numerous that joinder of all such persons is impractical and the

    disposition of their claims in a class action is a benefit to the parties and to the Court.

46. This case arises out of Defendant’s policy and practice of maintaining an inaccessible website

    denying blind persons access to the goods and services of Licknyc.com. Due to Defendant’s

    policy and practice of failing to remove access barriers, blind persons have been and are being

    denied full and equal access to independently browse Licknyc.com.

47. There are common questions of law and fact common to the class, including without limitation,

    the following:


             a) Whether Licknyc.com is a “public accommodation” under the ADA;




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             b) Whether Licknyc.com is a “place or provider of public accommodation” under the

                 laws of New York;

             c) Whether Defendant, through its website, Licknyc.com, denies the full and equal

                 enjoyment    of   its   goods,   services,   facilities,   privileges,   advantages,   or

                 accommodations to people with visual disabilities in violation of the ADA; and

             d) Whether Defendant, through its website, Licknyc.com, denies the full and equal

                 enjoyment    of   its   goods,   services,   facilities,   privileges,   advantages,   or

                 accommodations to people with visual disabilities in violation of the law of New

                 York.


48. The claims of the named Plaintiff are typical of those of the class. The class, similar to the

    Plaintiff, is severely visually-impaired or otherwise blind, and claims Long Island City Kleaners

    has violated the ADA, and/or the laws of New York by failing to update or remove access barriers

    on their website, Licknyc.com, so it can be independently accessible to the class of people who

    are legally blind.

49. Plaintiff will fairly and adequately represent and protect the interests of the members of the Class

    because Plaintiff has retained and is represented by counsel competent and experienced in

    complex class action litigation, and because Plaintiff has no interests antagonistic to the members

    of the class. Class certification of the claims is appropriate pursuant to Fed. R. Civ. P. 23(b)(2)

    because Defendant has acted or refused to act on grounds generally applicable to the Class,

    making appropriate both declaratory and injunctive relief with respect to Plaintiff and the Class as

    a whole.

50. Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3) because questions of

    law and fact common to Class members clearly predominate over questions affecting only




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    individual class members, and because a class action is superior to other available methods for the

    fair and efficient adjudication of this litigation.

51. Judicial economy will be served by maintenance of this lawsuit as a class action in that it is likely

    to avoid the burden that would be otherwise placed upon the judicial system by the filing of

    numerous similar suits by people with visual disabilities throughout the United States.

52. References to Plaintiff shall be deemed to include the named Plaintiff and each member of the

    class, unless otherwise indicated.


                                         FIRST CAUSE OF ACTION

         (Violation of 42 U.S.C. §§ 12181 et seq. – Title III of the Americans with Disabilities Act)


53. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs 1

    through 56 of this Complaint as though set forth at length herein.

54. Title III of the American with Disabilities Act of 1990, 42 U.S.C. § 12182(a) provides that “No

    individual shall be discriminated against on the basis of disability in the full and equal enjoyment

    of the goods, services, facilities, privileges, advantages, or accommodations of any place of public

    accommodation by any person who owns, leases (or leases to), or operates a place of public

    accommodation.” Title III also prohibits an entity from “[u]tilizing standards or criteria or

    methods of administration that have the effect of discriminating on the basis of disability.” 42

    U.S.C. § 12181(b)(2)(D)(I).

55. Licknyc.com is a public accommodation within the definition of 42 U.S.C. §§ 12181(7).

56. Defendant is subject to Title III of the ADA because it owns and operates Licknyc.com.

57. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(I), it is unlawful discrimination to deny

    individuals with disabilities or a class of individuals with disabilities the opportunity to participate




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    in or benefit from the goods, services, facilities, privileges, advantages, or accommodations of an

    entity.

58. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(II), it is unlawful discrimination to deny

    individuals with disabilities or a class of individuals with disabilities an opportunity to participate

    in or benefit from the goods, services, facilities, privileges, advantages, or accommodation, which

    is equal to the opportunities afforded to other individuals.

59. Specifically, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(II), unlawful discrimination

    includes, among other things, “a failure to make reasonable modifications in policies, practices, or

    procedures, when such modifications are necessary to afford such goods, services, facilities,

    privileges, advantages, or accommodations to individuals with disabilities, unless the entity can

    demonstrate that making such modifications would fundamentally alter the nature of such goods,

    services, facilities, privileges, advantages or accommodations.”

60. In addition, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(III), unlawful discrimination

    also includes, among other things, “a failure to take such steps as may be necessary to ensure that

    no individual with disability is excluded, denied services, segregated or otherwise treated

    differently than other individuals because of the absence of auxiliary aids and services, unless the

    entity can demonstrate that taking such steps would fundamentally alter the nature of the good,

    service, facility, privilege, advantage, or accommodation being offered or would result in an

    undue burden.”

61. There are readily available, well-established guidelines on the Internet for making websites

    accessible to the blind and visually-impaired. These guidelines have been followed by other

    business entities in making their websites accessible, including but not limited to ensuring

    adequate prompting and accessible alt-text. Incorporating the basic components to make their




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    website accessible would neither fundamentally alter the nature of Defendant’s business nor result

    in an undue burden to Defendant.

62. The acts alleged herein constitute violations of Title III of the ADA, 42 U.S.C. § 12101 et seq.,

    and the regulations promulgated thereunder. Patrons of Long Island City Kleaners who are blind

    have been denied full and equal access to Licknyc.com, have not been provided services that are

    provided to other patrons who are not disabled, and/or have been provided services that are

    inferior to the services provided to non-disabled patrons.

63. Defendant has failed to take any prompt and equitable steps to remedy its discriminatory conduct.

    These violations are ongoing.

64. As such, Defendant discriminates, and will continue in the future to discriminate against Plaintiff

    and members of the proposed class and subclass on the basis of disability in the full and equal

    enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

    opportunities of Licknyc.com in violation of Title III of the Americans with Disabilities Act, 42

    U.S.C. §§ 12181 et seq. and/or its implementing regulations.

65. Unless the Court enjoins Defendant from continuing to engage in these unlawful practices,

    Plaintiff and members of the proposed class and subclass will continue to suffer irreparable harm.

66. The actions of Defendant were and are in violation of the ADA, and therefore Plaintiff invokes

    her statutory right to injunctive relief to remedy the discrimination.

67. Plaintiff is also entitled to reasonable attorneys’ fees and costs.

68. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and incorporated

    therein, Plaintiff prays for judgment as set forth below.




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                                       SECOND CAUSE OF ACTION

                       (Violation of New York State Human Rights Law, N.Y. Exec. Law
                                   Article 15 (Executive Law § 292 et seq.))


69. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs

      1 through 72 of this Complaint as though set forth at length herein.

70.    N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory practice for any

      person, being the owner, lessee, proprietor, manager, superintendent, agent, or employee of any

      place of public accommodation . . . because of the . . . disability of any person, directly or

      indirectly, to refuse, withhold from or deny to such person any of the accommodations,

      advantages, facilities or privileges thereof.”

71. Licknyc.com is a public accommodation within the definition of N.Y. Exec. Law § 292(9).

72. Defendant is subject to the New York Human Rights Law because it owns and operates

      Licknyc.com. Defendant is a person within the meaning of N.Y. Exec. Law. § 292(1).

73. Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or remove access barriers

      to Licknyc.com, causing Licknyc.com to be completely inaccessible to the blind. This

      inaccessibility denies blind patrons the full and equal access to the facilities, goods and services

      that Defendant makes available to the non-disabled public.

74.    Specifically, under N.Y. Exec. Law § unlawful discriminatory practice includes, among other

      things, “a refusal to make reasonable modifications in policies, practices, or procedures, when

      such modifications are necessary to afford facilities, privileges, advantages or accommodations to

      individuals with disabilities, unless such person can demonstrate that making such modifications

      would fundamentally alter the nature of such facilities, privileges, advantages or

      accommodations.”




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75. In addition, under N.Y. Exec. Law § 296(2)(c)(II), unlawful discriminatory practice also includes,

    “a refusal to take such steps as may be necessary to ensure that no individual with a disability is

    excluded or denied services because of the absence of auxiliary aids and services, unless such

    person can demonstrate that taking such steps would fundamentally alter the nature of the facility,

    privilege, advantage or accommodation being offered or would result in an undue burden.”

76. There are readily available, well-established guidelines on the Internet for making websites

    accessible to the blind and visually-impaired. These guidelines have been followed by other

    business entities in making their website accessible, including but not limited to: adding alt-text to

    graphics and ensuring that all functions can be performed by using a keyboard. Incorporating the

    basic components to make their website accessible would neither fundamentally alter the nature

    of Defendant’s business nor result in an undue burden to Defendant.

77. Defendant’s actions constitute willful intentional discrimination against the class on the basis of a

    disability in violation of the New York State Human Rights Law, N.Y. Exec. Law § 296(2) in that

    Defendant has:


             a) constructed and maintained a website that is inaccessible to blind class members with

                 knowledge of the discrimination; and/or

             b) constructed and maintained a website that is sufficiently intuitive and/or obvious that

                 is inaccessible to blind class members; and/or

             c) failed to take actions to correct these access barriers in the face of substantial harm

                 and discrimination to blind class members.


78. Defendant has failed to take any prompt and equitable steps to remedy their discriminatory

    conduct. These violations are ongoing.




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79. As such, Defendant discriminates, and will continue in the future to discriminate against Plaintiff

    and members of the proposed class and subclass on the basis of disability in the full and equal

    enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

    opportunities of Licknyc.com under N.Y. Exec. Law § 296(2) et seq. and/or its implementing

    regulations. Unless the Court enjoins Defendant from continuing to engage in these unlawful

    practices, Plaintiff and members of the class will continue to suffer irreparable harm.

80. The actions of Defendant were and are in violation of the New York State Human Rights Law and

    therefore Plaintiff invokes her right to injunctive relief to remedy the discrimination.

81. Plaintiff is also entitled to compensatory damages, as well as civil penalties and fines pursuant to

    N.Y. Exec. Law § 297(4)(c) et seq. for each and every offense.

82. Plaintiff is also entitled to reasonable attorneys’ fees and costs.

83. Pursuant to N.Y. Exec. Law § 297 and the remedies, procedures, and rights set forth and

    incorporated therein, Plaintiff prays for judgment as set forth below.


                                       THIRD CAUSE OF ACTION

                               (Violation of New York State Civil Rights Law,
                              NY CLS Civ R, Article 4 (CLS Civ R § 40 et seq.))


84. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs

    1 through 87 of this Complaint as though set forth at length herein.

85. Plaintiff served notice thereof upon the attorney general as required by N.Y. Civil Rights Law §

    41.

86. N.Y. Civil Rights Law § 40 provides that “all persons within the jurisdiction of this state shall be

    entitled to the full and equal accommodations, advantages, facilities, and privileges of any places

    of public accommodations, resort or amusement, subject only to the conditions and limitations




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    established by law and applicable alike to all persons. No persons, being the owner, lessee,

    proprietor, manager, superintendent, agent, or employee of any such place shall directly or

    indirectly refuse, withhold from, or deny to any person any of the accommodations, advantages,

    facilities and privileges thereof . . .”

87. N.Y. Civil Rights Law § 40-c(2) provides that “no person because of . . . disability, as such term

    is defined in section two hundred ninety-two of executive law, be subjected to any discrimination

    in her or his civil rights, or to any harassment, as defined in section 240.25 of the penal law, in the

    exercise thereof, by any other person or by any firm, corporation or institution, or by the state or

    any agency or subdivision.”

88. Licknyc.com is a public accommodation within the definition of N.Y. Civil Rights Law § 40-c(2).

89. Defendant is subject to New York Civil Rights Law because it owns and operates Licknyc.com.

    Defendant is a person within the meaning of N.Y. Civil Law § 40-c(2).

90. Defendant is violating N.Y. Civil Rights Law § 40-c(2) in refusing to update or remove access

    barriers to Licknyc.com, causing Licknyc.com to be completely inaccessible to the blind. This

    inaccessibility denies blind patrons full and equal access to the facilities, goods and services that

    Defendant makes available to the non-disabled public.

91. There are readily available, well-established guidelines on the Internet for making websites

    accessible to the blind and visually-impaired. These guidelines have been followed by other

    business entities in making their website accessible, including but not limited to: adding alt-text to

    graphics and ensuring that all functions can be performed by using a keyboard. Incorporating the

    basic components to make their website accessible would neither fundamentally alter the nature

    of Defendant’s business nor result in an undue burden to Defendant.




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92. In addition, N.Y. Civil Rights Law § 41 states that “any corporation which shall violate any of the

    provisions of sections forty, forty-a, forty-b or forty two . . . shall for each and every violation

    thereof be liable to a penalty of not less than one hundred dollars nor more than five hundred

    dollars, to be recovered by the person aggrieved thereby . . .”

93. Specifically, under N.Y. Civil Rights Law § 40-d, “any person who shall violate any of the

    provisions of the foregoing section, or subdivision three of section 240.30 or section 240.31 of the

    penal law, or who shall aid or incite the violation of any of said provisions shall for each and

    every violation thereof be liable to a penalty of not less than one hundred dollars nor more than

    five hundred dollars, to be recovered by the person aggrieved thereby in any court of competent

    jurisdiction in the county in which the defendant shall reside . . .”

94. Defendant has failed to take any prompt and equitable steps to remedy their discriminatory

    conduct. These violations are ongoing.

95. As such, Defendant discriminates, and will continue in the future to discriminate against Plaintiff

    and members of the proposed class on the basis of disability are being directly indirectly refused,

    withheld from, or denied the accommodations, advantages, facilities and privileges thereof in § 40

    et seq. and/or its implementing regulations.

96. Plaintiff is entitled to compensatory damages of five hundred dollars per instance, as well as civil

    penalties and fines pursuant to N.Y. Civil Rights Law § 40 et seq. for each and every offense.

                                     FOURTH CAUSE OF ACTION
                              (Violation of New York City Human Rights Law,
                                N.Y.C. Administrative Code § 8-102, et seq.)


97. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs 1

    through 100 of this Complaint as though set forth at length herein.




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98. N.Y.C. Administrative Code § 8-107(4)(a) provides that “it shall be an unlawful discriminatory

    practice for any person, being the owner, lessee, proprietor, manager, superintendent, agent or

    employee of any place or provider of public accommodation, because of . . . disability . . . directly

    or indirectly, to refuse, withhold from or deny to such person, any of the accommodations,

    advantages, facilities or privileges thereof.”

99. Licknyc.com is a public accommodation within the definition of N.Y.C. Administrative Code § 8-

    102(9).

100. Defendant is subject to City Law because it owns and operates Licknyc.com. Defendant is a

    person within the meaning of N.Y.C. Administrative Code § 8-102(1).

101. Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in refusing to update or remove

    access barriers to Licknyc.com, causing Licknyc.com to be completely inaccessible to the blind.

    This inaccessibility denies blind patrons full and equal access to the facilities, goods, and services

    that Defendant makes available to the non-disabled public. Specifically, Defendant is required to

    “make reasonable accommodation to the needs of persons with disabilities . . . any person

    prohibited by the provisions of [§ 8-107 et seq.] from discriminating on the basis of disability

    shall make reasonable accommodation to enable a person with a disability to . . . enjoy the right or

    rights in question provided that the disability is known or should have been known by the covered

    entity.” N.Y.C. Administrative Code § 8107(15)(a).

102. Defendant’s actions constitute willful intentional discrimination against the class on the basis of a

    disability in violation of the N.Y.C. Administrative Code § 8-107(4)(a) and § 8-107(15)(a) in that

    Defendant has:


              a) constructed and maintained a website that is inaccessible to blind class members with

                 knowledge of the discrimination; and/or




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             b) constructed and maintained a website that is sufficiently intuitive and/or obvious that

                 is inaccessible to blind class members; and/or

             c) failed to take actions to correct these access barriers in the face of substantial harm

                 and discrimination to blind class members.


103. Defendant has failed to take any prompt and equitable steps to remedy their discriminatory

    conduct. These violations are ongoing.

104. As such, Defendant discriminates, and will continue in the future to discriminate against Plaintiff

    and members of the proposed class and subclass on the basis of disability in the full and equal

    enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

    opportunities of Licknyc.com under N.Y.C. Administrative Code § 8-107(4)(a) and/or its

    implementing regulations. Unless the Court enjoins Defendant from continuing to engage in these

    unlawful practices, Plaintiff and members of the class will continue to suffer irreparable harm.

105. The actions of Defendant were and are in violation of City law and therefore Plaintiff invokes her

    right to injunctive relief to remedy the discrimination.

106. Plaintiff is also entitled to compensatory damages, as well as civil penalties and fines under

    N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each offense.

107. Plaintiff is also entitled to reasonable attorneys’ fees and costs.

108. Pursuant to N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) and the remedies, procedures,

    and rights set forth and incorporated therein, Plaintiff prays for judgment as set forth below.




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                                      FIFTH CAUSE OF ACTION

                                            (Declaratory Relief)


109. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs

    1 through 112 of this Complaint as though set forth at length herein.

110. An actual controversy has arisen and now exists between the parties in that Plaintiff contends, and

    is informed and believes that Defendant denies, that Licknyc.com contains access barriers

    denying blind customers the full and equal access to the goods, services and facilities of

    Licknyc.com, which Long Island City Kleaners owns, operates and/or controls, fails to comply

    with applicable laws including, but not limited to, Title III of the American with Disabilities Act,

    42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C. Administrative Code § 8-

    107, et seq. prohibiting discrimination against the blind.

111. A judicial declaration is necessary and appropriate at this time in order that each of the parties

    may know their respective rights and duties and act accordingly.


                                         PRAYER FOR RELIEF


    WHEREFORE, Plaintiff respectfully demands judgment in favor of Plaintiff and the class and

    against the Defendants as follows:


              a) A preliminary and permanent injunction to prohibit Defendant from violating the

                 Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296,

                 et seq., and N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;

              b) A preliminary and permanent injunction requiring Defendant to take all the steps

                 necessary to make its website, Licknyc.com, into full compliance with the




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         requirements set forth in the ADA, and its implementing regulations, so that

         Licknyc.com is readily accessible to and usable by blind individuals;

       c) A declaration that Defendant owns, maintains and/or operates its website,

         Licknyc.com, in a manner which discriminates against the blind and which fails to

         provide access for persons with disabilities as required by Americans with

         Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and

         N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;

       d) An order certifying this case as a class action under Fed. R. Civ. P. 23(a) & (b)(2)

         and/or (b)(3), appointing Plaintiff as Class Representative, and her attorneys as Class

         Counsel;

       e) An order directing Defendants to continually update and maintain its website to

         ensure that it remains fully accessible to and usable by the visually-impaired;

       f) Compensatory damages in an amount to be determined by proof, including all

         applicable statutory damages and fines, to Plaintiff and the proposed class for

         violations of their civil rights under New York State Human Rights Law and City

         Law;

       g) Plaintiff’s reasonable attorneys’ fees, expenses, and costs of suit as provided by state

         and federal law;

       h) For pre- and post-judgment interest to the extent permitted by law; and

       i) For such other and further relief which this court deems just and proper.




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Dated: Hicksville, New York
April 29, 2024

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